Case 5:10-cr-00302-SMH-MLH     Document 288 Filed 09/05/11             Page 1 of 1 PageID #:
                                      1041
                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                              CRIMINAL ACTION NO. 10-302

 VERSUS                                                JUDGE S. MAURICE HICKS, JR.

 JOHNNY KIMBLE, ET AL                     MAGISTRATE JUDGE HORNSBY
 _____________________________________________________________________

                                          ORDER

         Before this Court is Defendant’s Motion for Reconsideration. (Record Document

 286). Defendant cites to Bullcoming v. New Mexico for authority on this matter. ___ U.S.

 ___, 131 S.Ct. 2705 (2011). Bullcoming’s facts are distinguishable and therefore do not

 provide the Court with sufficient persuasion to reconsider its previous ruling.

         Accordingly,

         IT IS HEREBY ORDERED that the Motion for Reconsideration (Record

 Document 286) filed by Defendant Demario Henderson is DENIED.

         THUS DONE AND SIGNED, in Shreveport, Louisiana this 5th day of September,

 2011.
